                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

 UNITED STATES OF AMERICA                  §
                                           §           Criminal No. 24-CR-00298
 V.                                        §
                                           §
 EITHAN HAIM                               §

            DEFENDANT’S OPPOSED MOTION FOR CONTINUANCE
                 AND TO DESIGNATE CASE AS COMPLEX


       The defendant, Dr. Eithan Haim, hereby respectfully moves for a continuance

of the trial setting.

                                          FACTS

       1.     On May 29, 2024, a Grand Jury sitting in the Southern District of Texas,

Houston Division returned a four-count indictment against defendant Dr. Eithan

Haim, charging him with knowingly and without authorization obtaining

individually identifiable health information either under false pretenses (Count 1) or

with the intent to cause malicious harm (Counts 2–4). Dkt. 1.

       2.      Dr. Haim’s initial appearance occurred on June 17, 2024, at which time

he was released on a $10,000 unsecured bond. Dkt. 11.

       3.     This Court originally entered an order setting the case for trial on

August 20, 2024.        Dkt. 10. The government submitted a Joint Motion for




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Continuance of Jury Trial, requesting that trial be continued until October 2024.

Dkt. 17. The Court granted the request and set trial for October 21, 2024. Dkt. 18.

      4.     However, many factors warrant continuing the trial beyond the October

21, 2024 trial setting.

      5.     First, the government’s discovery is voluminous.         To date, the

government has already produced over 15,000 documents, containing more than

100,000 pages of information. The documents include dense medical records and

lengthy spreadsheets of technical information. For instance, the government has

produced multiple exports of audit trails from an electronic medical record system.

A single record includes as many as 37,000 entries, most or all of which are relevant

to this case. The discovery provided by the government also contains many audio

and video files. We understand from the government that it has further discovery to

produce. While counsel for Dr. Haim have reviewed much of the material, its

volume and scope require significant additional dedicated time and attention.

      6.     Further, despite the large volume of discovery, the documents produced

therein suggest that there are large volumes of additional, relevant documents not

contained in that discovery. We have also requested from the government additional

documents and files that we know are in the government’s possession, custody, or

control.




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      7.     Dr. Haim’s representatives have also contacted multiple witnesses not

identified by the governmet who are in possession of important information that is

relevant to Dr. Haim’s defense. Despite the diligence of defense counsel, counsel

has encountered challenges in interviewing potential witnesses.            Many are

physicians with demanding schedules, are no longer in the Houston area, and/or have

taken vacation during the summer. Accordingly, their availability has been limited,

and while counsel for Dr. Haim have been working diligently on this particular

matter, counsel require additional time to secure interviews in advance of

determining and designating witnesses for trial.

      8.     All these hurdles point to the more general truth that this case is

complex. Factually, this case centers around the complicated procedures, practices,

scheduling, and staffing of a children’s hospital, its connected pavilion for pregnant

women, other Texas Medical Center facilities, and a residency program

simultaneously serving many of those facilities. The issues require understanding

residency rotations, medical “services,” the responsibilities of residents, and the

coordination of their schedules and patient coverage, both in formal programmatic

terms and how they were actually practiced at Texas Children’s Hospital and other

facilities in the Texas Medical Center over the course of several years. Separate

from those issues, the case also concerns the formal and actual practices and

procedures involving a highly regulated and technical electronic medical records



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system, including how it is designed to be used as opposed to how it is used in real-

world practice.

      9.     The case also has substantial legal complexities. Dr. Haim faces

charges under HIPAA based on parallel theories of committing the base crime, 42

U.S.C. § 1320d–6(a), as well as under two of the three penalty enhancements, id.

§ 1320d–6(b)(2), (3).    One theory for the base crime for all counts relies on

Dr. Haim’s having violated the HIPAA regulations—the “Privacy Rule” as

promulgated in pieces by the Department of Health and Human Services. That

“rule” is a collection of provisions in multiple subparts of the Code of Federal

Regulations. See 45 C.F.R. § 160.101 et seq.; id. § 164.500 et seq. The mere text

of the regulatory provisions fills many pages. Yet there have been few HIPAA cases

tried to a jury anywhere in the United States, and almost none under the

government’s various current theories. Counsel anticipates that significant briefing

will need to occur regarding these legal issues in advance of trial.

      10.    Additionally, as the Court has already been made aware, Dr. Haim also

submits that his wife is due to give birth to their first child on October 8, 2024, a

mere 13 days before the trial is set to begin. Both he and his wife will be attending

to their new baby’s needs immediately after birth, which will make immediate trial

preparation difficult. Mrs. Haim will attend trial, and the presence of a newborn in




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the courtroom will present unavoidable distractions that could be substantially

lessened by a later trial date.

       11.    Counsel for Dr. Haim submit an addendum ex parte and under seal

further explaining their diligence in preparing for trial, which includes information

relating to Dr. Haim’s pretrial and trial strategy.

                                    ARGUMENT

       Dr. Haim seeks a continuance of the trial setting to ensure that he receives a

fair trial and that justice is served. This request comports with the Speedy Trial Act,

which provides that a court may grant a continuance where it finds “that the ends of

justice served by taking such action outweigh the best interest of the public and the

defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

       In granting such an “ends of justice” continuance, the “court must consider at

least one of the factors specified by the Act.” United States v. Ortega-Mena, 949

F.2d 156, 159 (5th Cir. 1991). The factors applicable to this case include:

       (i)    Whether the failure to grant such a continuance in the proceeding
              would . . . result in a miscarriage of justice.

       (ii)   Whether the case is so unusual or complex, due to the number of
              defendants, the nature of the prosecution, or the existence of
              novel questions of facts or law, that it is unreasonable to expect
              adequate preparation for pretrial proceedings or the trial itself
              within the time limits established by [the Speedy Trial Act]. . . .

       (iv)   Whether the failure to grant such continuance in a case which,
              taken as a whole, is not so unusual or complex as to fall within
              clause (ii), would deny . . . counsel for the defendant or the

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             attorney for the government the reasonable time necessary for
             effective preparation, taking into account the exercise of due
             diligence.

18 U.S.C. § 3161(h)(7)(B)(i), (ii), and (iv).

      In this case, counsel for the defense seeks a designation of the case as “unusual

and complex.” As indicated, this case involves voluminous and ongoing discovery

and trial preparation. What has been provided to the defense so far indicates that

there is much additional critical evidence and testimony. Despite due diligence in

obtaining this information, additional time is necessary to ensure that counsel for

Dr. Haim is reasonably prepared for pretrial practice and can provide effective

assistance of counsel at trial.

      This case also qualifies as unusual and complex because there are novel

questions of facts and law. Peeling apart the intricacies of hospital operations and

of the hospital’s electronic medical records system are extraordinary tasks that take

substantial time and effort. The government has had more than a year to investigate

and come to their own understanding of these issues. (Nearly a year passed from the

government’s presenting Dr. Haim a target letter to his indictment.) Many of the

legal questions that the case presents have never been answered, and locating

applicable precedent has proven difficult.

      Therefore, it is fitting for this case to be designated as complex case for which

the ends of justice would require a continuance and tolling of the Speedy Trial Act.



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      As the Fifth Circuit has recognized, a complex case designation based on the

volume of discovery and complexity of the case is consistent with the relevant

provisions of the Speedy Trial Act, and it has cited other circuits that have similarly

upheld continuances in white-collar criminal cases based on complexity. United

States v. Bieganowski, 313 F.3d 264, 282 & n.15 (5th Cir. 2002), citing United States

v. Dota, 33 F.3d. 1179, 1183 (9th Cir. 1993) (finding that “[a]n ends-of-justice

continuance may be justified on grounds that one side needs more time to prepare

for trial”); United States v. Wellington, 754 F.2d 1457, 1467 (9th Cir. 1985) (finding

the complexity of a mail fraud prosecution as a proper ground for the granting of a

continuance); and United States v. Thomas, 774 F.2d 807, 811 (7th Cir. 1985)

(upholding an ends-of-justice continuance based on the complexity of a fraud case

with thousands of financial documents).

      Alternatively, even if this case is not formally “unusual or complex,” the

volume of discovery and complicated issues still require granting further time for

pretrial preparation by Dr. Haim despite due diligence of the defense. Additionally,

were Dr. Haim denied the ability to engage in additional pretrial preparation, it

would result in a miscarriage of justice because he would be denied the opportunity

to obtain and present critical evidence in his defense. Finally, Dr. Haim is willing

to waive the requirements of the Speedy Trial Act regardless of the determinations

necessary for extending the trial past the 70 days imposed by the statute.



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                                  CONCLUSION

      Dr. Haim respectfully requests that the Court certify this case as complex and

continue the October 21, 2024 trial date for at least 90 days.

      Counsel for Dr. Haim has conferred with counsel for the government. The

government opposes the relief requested herein.

Dated: September 6, 2024                    Respectfully submitted,




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                        CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that a true and correct copy of the

above and foregoing document has been filed and served on September 6, 2024 using

the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                            /s/ Marcella C. Burke
                                            Marcella C. Burke


                     CERTIFICATE OF CONFERENCE

      I hereby certify that on September 5, 2024, I conferred via email with counsel

for the government Tina Ansari who confirmed that the relief requested herein was

opposed.


                                            /s/ Ryan Patrick
                                            Ryan Patrick




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